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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

Hillary Richard,
                                               Court File No.:
                     Plaintiff,

       v.                                         NOTICE OF REMOVAL OF
                                                 ACTION TO FEDERAL COURT
Oscar Macias, in his individual and
official capacity, and the City of
Minneapolis,

                     Defendants.


TO:         Plaintiff above‐named and her attorney, Jordan S. Kushner, 431 7th
            Street South, Suite 2446, Minneapolis, MN 55415

      Pursuant to 28 U.S.C. §§ 1331, 1343, 1441 and 1446, Defendant, through its

attorneys, Sharda Enslin, Heather P. Robertson, and Kristin R. Sarff, Assistant

Minneapolis City Attorneys, 350 S. Fifth Street, Room 210, Minneapolis, MN 55415,

hereby remove this action from the Fourth Judicial District of the State of

Minnesota to this Court, and gives notice to the Plaintiff and this Court as follows:

      1.      The City of Minneapolis and Oscar Macias (hereinafter “Defendants”)

are defendants in a civil action in the District Court of the Fourth Judicial District

of the State of Minnesota entitled Hillary Richard v. Oscar Macias, in his individual

and official capacity, and City of Minneapolis. The original Summons and Complaint

were received by Defendant City of Minneapolis on March 22, 2022 by personal
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service on the City of Minneapolis. Defendant Oscar Macias was not personally

served with the Summons or Complaint but has received a copy of the Complaint

from counsel. No pleadings have been filed in Hennepin County District Court.

No further proceedings have occurred in this matter.

      2.      This Notice of Removal is filed within 30 days of Defendant City of

Minneapolis’ receipt of the Complaint, and before service was completed on

Defendant Oscar Macias, and is therefore timely under 28 U.S.C. § 1446(b)(1).

      3.      A copy of the Summons is attached as Exhibit 1. A copy of the

Complaint is attached as Exhibit 2.

      4.      This Notice of Removal of Action to Federal Court is filed pursuant

to 28 U.S.C. § 1441(a) and (c). The Plaintiff’s lawsuit, being captioned in the State

Court, is a civil action bringing claims under 42 U.S.C. § 1983 and 42 U.S.C. § 1988,

alleging that Defendants violated Plaintiff’s rights under the U.S. Constitution,

federal statutory law, and state statutory claims, resulting in injury to the Plaintiff.

      5.      The   Complaint     alleges   that   Defendants     violated   Plaintiff’s

constitutional civil rights and asserts claims under 42 U.S.C. § 1983. These are

claims over which this Court has original jurisdiction pursuant to 28 U.S.C. § 1343,

as they arise under the laws of the United States within the meaning of 28 U.S.C.

§ 1331, and these claims are therefore removable under 28 U.S.C. § 1441.




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      6.      The Complaint also asserts pendent common law claims under

Minnesota law. This Court has supplemental jurisdiction over Plaintiff’s state

claims under 28 U.S.C. § 1367(a).

      7.      Defendants file herewith copies of all process, pleadings and orders

served upon it in this action. Defendants have sent written notice of the filing of

this Notice of Removal of Action to Federal Court to Plaintiff and will promptly

file a copy of this Notice with the Clerk of the District Court for the Fourth Judicial

District of the State of Minnesota, County of Hennepin. Defendants sign this

removal in accordance with Federal Rule of Civil Procedure 11.

      WHEREFORE, notice is hereby given that this action is removed from the

State Court to this Court for trial or such other determination as this Court may

make regarding the action and in accordance with its jurisdictional limits under

28 U.S.C. § 1441.




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Dated: April 11, 2022             JAMES R. ROWADER, JR.
                                  City Attorney
                                  By
                                  /s/ Sharda Enslin
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                                  KRISTIN R. SARFF (#0388003)
                                  HEATHER P. ROBERTSON (#0390470)
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                                  Attorneys for Defendants




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